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——— ENTERED SERVED ON
, COUNSEL/PARTIES OF RECORD
UNITED STATES DISTRICT/COU.
MAY -2 2018
DISTRICT OF NEVAIA
CLERK US DIST:
ORACLE USA, INC., et al. DISTRICT OF NevoeRt
Plaintiffs, ) BY: DEPUTY
)
Vv. ) Case #:.2:10-cv-0106-LRH-VCF
)
RIMINI STREET, INC., et al. }
Defendants. )
)
CERTIFICATE OF CASH DEPOSIT
1. I, Richard J. Pocker , herewith tender to the Clerk
(Name of Depositor)

of Court for deposit into the Registry Account of this Court cash in the amount of
$.28,502,246.40 . (via cashier’s check)

2. This Cash Deposit:

Oracle USA, Inc., Oracle America, Inc. and Oracle International

A. Is tendered on behalf of: Corporation (collectively, “Oracle”)

(Name of Party)
B. Is in the nature of the following (e.g., Interpleader Deposit, Bond in Support

of Temporary Restraining Order, etc.) : attorneys’ fee award to Oracle in this action, which was

vacated by the Ninth Circuit.

C. Is tendered pursuant to the following Court Order (Order must be attached
as required by Fed. R. Civ. P. 67(a) and LR 67-1(a)(4) and (b).) : ECF No. 1128 and ECF No. 1129

D. Is conditioned as follows: pursuant to those orders.

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3. The name and address of the Legal Owner of the cash tendered

herewith to whom a refund (if applicable) shall be made is:

Oracle International Corporation

500 Oracle Parkway, M/S 50p7

Redwood City, CA 94070

State of Nevada )
) ss.
County of Clark )

On_/ y a 4 2 , of Of g
personally&ppeared before me, a

Notary Public,

Richard J. Pocker

(Name of Depositor)
who acknowledged that (s)he
executed the above instrument.

Dull,

NG@TARY PUBLIC

RECEIPT:

Cash as identified herein is
hereby acknowledged as being
received this date. .

‘

Dated: «

CLERK, us GAds|courr
By: DENSON

Deputy Clerk

Dated: __-—> PEG 2, ROIS

SA Arba

t Sjénature of Depositor

C Signafur¢ of Attomey for

Party of Party Appearing
Pro Se _ (If different from
Depositor)

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ECF NO. 1128

Order Regarding Rule 67 Deposit and
Briefing Schedule for Oracle’s
Renewed Motion for Attorneys’ Fees
Case 2:10-cv-00106-LRH-VCF Document 1144 Filed 05/02/18 Page 4 of 8
Case 2:10-cv-00106-LRH-VCF Document 1128 Filed 04/03/18 Page 1 of3

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

ORACLE USA, INC., a Colorado corporation; Case No. 2:10-cv-0106-LRH-PAL
ORACLE AMERICA, INC., a Delaware
corporation; and ORACLE INTERNATIONAL STIPULATION AND .

CORPORATION, a California corporation, ORDER REGARDING RULE 67
DEPOSIT AND BRIEFING
Plaintiffs, SCHEDULE FOR ORACLE’S
v. RENEWED MOTION FOR
ATTORNEYS’ FEES

RIMINI STREET, INC., a Nevada corporation;
AND SETH RAVIN, an individual,

Defendants.

WHEREAS on September 21, 2016, the Court entered an award of $28,502,246.40 in
attorneys’ fees in favor of Oracle (Dkt. 1049);

WHEREAS on October 18, 2016, the Court entered a final judgment that included the
attorneys’ fees award (Dkt. 1076),

WHEREAS on October 31, 2016, Rimini paid Oracle the judgment in full, including the
complete attorneys’ fees award plus postjudgment interest (Dkt. 1096, 1097);

WHEREAS on January 8, 2018, the U.S. Court of Appeals for the Ninth Circuit affirmed
liability and prejudgment interest for Oracle’s copyright infringement claims (Oracle USA, Ine. v.
Rimini Street, Inc., 879 F.3d 948 (9th Cir. 2018));

WHEREAS the Ninth Circuit reversed liability and prejudgment interest for the state
computer hacking statutes—a sum total of $19,764,595.85 (Dkt. 1076 {{ 3-4)—and reversed
$1,515,285.45 in taxable costs (Rimini, 879 F.3d at 962-65) (hereinafter, the “Reversed Sums”),

WHEREAS the Ninth Circuit “vacate(d] the {attorneys’] fee award and remand[ed] for
reconsideration” (Rimini, 879 F.3d at 965);

WHEREAS on March 13, 2018, Oracle filed a Motion to Deposit Attorneys’ Fee Award with
the Court, requesting permission pursuant to Rule 67 of the Federal Rules of Civil Procedure to

deposit with the Court the $28,502,246.40 attorneys’ fees award vacated by the Ninth Circuit, which

STIPULATION AND © ~77~* ORDER

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Case 2:10-cv-00106-LRH-VCF Document 1128 Filed 04/03/18 Page 2 of 3

award Rimini previously paid to Oracle, pending resolution of Oracle’s renewed motion for
attorneys’ fees (Dkt. 1114);

WHEREAS the parties now agree that Oracle can deposit $28,502,246.40 with the Court
pursuant to Rule 67, on the conditions that Oracle (1) withdraws its pending motion, (2) promptly
pays back to Rimini the Reversed Sums with postjudgment interest, and (3) agrees to provide Rimini
with 60 days to oppose Oracle’s renewed motion for attorneys’ fees (Dkt. 1118); and

WHEREAS Rule 67 requires from the Court an “order permitting deposit” (Fed. R. Civ.
P. 67(b));

THEREFORE IT IS HEREBY STIPULATED by and between the Parties that:

1. Oracle shall withdraw its pending Motion to Deposit Attorneys’ Fee Award with the
Court.

2. Oracle shall promptly pay back to Rimini all Reversed Sums with postjudgment interest.

3. The Parties request that the Court enter the attached Rule 67 Proposed Order, which
authorizes Oracle to deposit $28,502,246.40 with the Court in its Registry Account, to be disbursed
with appropriate interest according to this Court’s resolution of Oracle’s renewed motion for
attorneys’ fees. This disbursement is to occur without respect to either party's subsequent appeal
from this Court’s decision.

4. Rimini shall have 60 days from the date of Oracle’s renewed motion for attomeys’ fees

to file its opposition brief to Oracle’s renewed motion for attorneys’ fees.

SO STIPULATED AND AGREED.
DATED: March 29, 2018 GIBSON, DUNN & CRUTCHER LLP
By: ___/s/ Mark A. Perry
Mark A. Perry

Attorneys for Defendants Rimini Street, Inc. and Seth
Ravin

STIPULATION AND ~~} ORDER

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DATED: March 29, 2018 BOIES SCHILLER FLEXNER LLP
By: ___/s/ William Isaacson

William Isaacson

Attorneys for Plaintiffs Oracle USA, Inc., Oracle
America, Inc. And Oracle International Corporation

ATTESTATION OF FILER

The signatories to this document are William Isaacson and me, and I have obtained

Mr. Isaacson’s concurrence to file this document on his behalf.

DATED: March 29, 2018 GIBSON, DUNN & CRUTCHER LLP
By: ___/s/ Mark A. Perry
Mark A. Perry

PURSUANT TO STIPULATION, IT IS SO ORDERED.

Dated: AeA 3 201 Bb

Hon. Larry R. Hicks
United States District Judge

STIPULATION

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ECF NO. 1129
Order Regarding Rule 67 Deposit
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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

ORACLE USA, INC., a Colorado corporation;
ORACLE AMERICA, INC., a Delaware
corporation; and ORACLE INTERNATIONAL
CORPORATION, a California corporation,

Plaintiffs,
v.

RIMINI STREET, INC., a Nevada corporation,
and SETH RAVIN, an individual,

Defendants.

Case No. 2:10-cv-0106-LRH-PAL

STIPULATED , _, ORDER
REGARDING RULE 67 DEPOSIT

Judge: Hon. Larry R. Hicks

" Pursuant to the parties’ joint stipulation dated March 29, 2018, see Dkt. 1123, IT IS HEREBY

ORDERED THAT:

Under Federal Rule of Civil Procedure 67, Oracle is hereby authorized to deposit

$28,502,246.40 with the Court in its Registry Account, to be disbursed with appropriate interest

according to this Court’s resolution of Oracle’s renewed motion for attorneys’ fees. This

disbursement is to occur without respect to either party’s subsequent appeal from this Court’s

decision.

Rimini’s opposition to Oracle’s renewed motion for attorneys’ fees is due on May 25, 2018.

IT IS SO ORDERED.

DATED: 4/3/15

By:

on, Larry R. Hicks
United States District Judge

“~~” ORDER

